            Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 1 of 40
                                                State of Louisiana
                                                Secretary of State
                                                                                                Legal Services Section

                                                          09/04/2023                 P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                      (225) 922-0415




 INDIAN HARBOR INSURANCE COMPANY
 ATTN: SARAH B. MDv1S, ASSI SECRETARY

 EXTON, PA 19341                                                                     SEP 112023


 Suit No.: 80558
                                                                              L    Kim

 40TH JUDICIAL DISTRICT COURT
 SAINT JOHN THE BAPTIST PARISH

 ST. JOHN THE BAPTIST PARISH, ETAL
 vs
 CERTAIN UNDERWRITERS AT LLOYD’S, LONDON, ET AL


  Dear Sir/Madam:
                                                                                  you are not the intended recipient of
  I am enclosing a citation served in regard to the above entitled proceeding. If
                                                                                     All other questions regarding this
  this document, please return it to the above address with a letter of explanation.
  document should be addressed to the attorney that filed this proceeding.




                                                                                  Yours very truly,

                                                                                  R. KYLE ARDOIN
                                                                                  Secretary of State




Served on: R. KYLE ARDOIN                                            Date: 09/01/2023
Served by: B GARAFOLA                                                Title: DEPUTY SHERIFF



                                                                                                 No: 1298746



                                                                                                      I i hI l I Il 1 1 IiI IM I
   ________,20
___________        _____
                             ________
            __,20_______________ _______

     Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 2 of 40



                                                                        l   1111 lll   lli11 1 D55$ 15260
                                                                                            lli litti ttt llt ll till




                                         CITATION

 ST. JOhN THE BAPTIST PARISH                       40TH JUDICIAL DISTRICT COURT

 VS                                                PARISH OF ST. JOHN THE BAPTIST

 CERJ’AIN UNDERWRITERS AT                          STATE OF LOUISIANA
 LLOYD’S, LONDON
 DOCKET NUMBER: C-$0558                            DIVISION A



 To:      INDIAN HARBOR INSURANCE COMPANY                                                                  ON
                                                                                                    KYLE APJXMN
          THROUGH ITS AGENT FOR SER VICE Of PRO€ESS:
          LOUISIANA SECRETARY OF STATE
                                                                                                         U I ..L
          8585 ARCHIVES AVENUE
          BATON ROUGE, LA 70809                                                           ‘ERETAY OF STATE
                                                                                          COJIMERCIAL DIVISION
 Parish: EAST BATON ROUGE


 You are hereby summoned to comply with the demand contained in the
 Petition of which a true and correct copy accompanies this citation, or make
 an appearance either by filing an Answer or other pleading to said Petition,
 in the fortieth Judicial District Court in and for the Parish of St. John the
 Baptist, State of Louisiana, within twenty-one (21) days after the service
 hereof, under penalty of default.

 This service was ordered by J. REED POOLE, JR., ESQ. and was issued
 by the Clerk of Court on AUGUST 26, 2023.

 *
     Also attached are the following documents:
     PETITION FOR DAMAGES, CASE MANAGEMENT ORDER AND
      DISCLOSURE ORDER



                                              I/
                                         MM VAN KREGTEN
                                         Deputy Clerk of Court for
                                         Eliana Defrancesch, Clerk of Court


 RECEIVED ON THE             DAY OF                  AND ON THE                                 DAY OF
                           SERVED THE ABOVE NAMED PARTY AS FOLLOWS:

 PERSONAL SERVICE ON THE PARTY HEREIN NAMED

  DOMICILIARY SERVICE ON THE PARTY HEREIN NAMED BY LEAVING THE SAME AT HIS
 DOMICtLE [N THE PARISH IN THE HANDS OF                              A                          ,



 PERSON APPARENTLY OVER THE AGE OF SEVENTEEN YEARS, LIVING AND RESIDED IN
 SAID DOMICILE AND WHOSE NAME AND OTHER FACTS CONNECTED WiTH THIS SERVICE, I
 LEARNED BY INTERROGATING THE SAID PERSON, SAID PARTY HEREIN BEING ABSENT
 FROM HIS RESIDENCE AT THE TIME OF SAID SERVICE.

 RETURNED: PARISH OF                                  THIS                      DAY OF


 SERVICE  $____________                   BY:_____________________
 MILEAGE    $____________                           DEPUTY SHERIFF
 TOTAL   S

 ORIGINAL   -   RETURN        COPY   -   SERVICE             COPY   -   CLERK
                                                           _
                                                       _
                                                   _
                                               _
                                           _
                                        _
                                    _
                                _
                             _
                        _
                  _




                                                                 —
                  Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 3 of 40




       I

                                                                                                             BAPTIST
                                                 FOR THE PARISH                        OF ST. JOHN THE
           110T11 JUDI       CIAL DISTRICT COURT
                                                   STATE OF LOUISIANA
                                                                                                                    1
                                                                                                   DIVISION”
           NO:
                                                       FIURIUCANE. CASE
                                                                                                  PARISH COUNCIL
                                                         . JOHJ THE BAPTIST
            ST. JOHN THE           BAPTIST PARISH and ST
                                                             VERSUS
                                                                                RBOR
                                      ER  S  AT LL OY  D’ S, LONDON; INDIAN HA
               CERTAIN UNDERWRIT                        INSURANCE COMPANY;
                                                                               STEADFAST
                           AN  Y;  QB E  SP EC IA LT Y                              OF
          INSURANCE COMP                         L SE CU  RIT Y INDEMNITY COMPANY
                                  Y;  GE  NE RA
             INSURANCE COMPAN                       SU RANCE COMPANY; LE
                                                                             XINGTON
                         UN ITE D SP EC  IA LT Y IN                                UNION
                                                              LTY SE; OLD REPUBLIC
               ARIZONA ;
                                Y;  HD I  GL OB AL  SP  EC IA
g          INSURANCE COMPAN                       SPECIALTY INSURANCE
                                                                            COMPANY; and
      —
                      CO  MP  AN Y;  GE O  VE RA
            INSURANCE                                  INSURANCE COMPANY
                       TRANSVERSE SPECIALTY
        -

o
_0

                                               _______
           FiLED:_________                                                                   DEPUTY CLERK

C                                                                                       S
                                                   PETITION FOR DAMAGE
    •.—




                                                                                                                        n the
                                               h undersigned counse                   l, come Plaintiffs, the St. Joh
                        NOW INTO COURT, throug
                                                                                                                         te of
wu_                                         John the Baptist Parish, a                 political subdivision of the Sta
            Baptist Parish Council, and St.
                                                                                                                     ed in the
                                              instant Petition for Dama              ges against the Defendants list
            Louisiana, both of which file the
                                                                                                                        wledge
                                             re specifically set forth bel           ow are based upon personal kno
            caption and herein. The facts mo
                                                ief.
             and upon information and bel
                                                                               AND VENUE FACTS
                                          PARTIES, JURISDICTION,
                                                                                                                   collectively
                                                               n the Baptist    Parish (hereinafter referred to,
                   1.         Made Plaintiff herein is St. Joh
                                                                                                                   at all times
                                             Council as “Plaintiff            ’ and/or “St. John the Baptist”),
             with St. John the Baptist Padsh
                                                                                                                   St. John the
                                              al subdivision of the           State of Louisiana, domiciled in
             material times herein: a politic
                                                                                                                all buildings,
                                             iana. St. John the Ba           ptist Parish is the co-owner of
              Baptist Parish, State of Louis
                                                                                                                    tired under
                                                herein, and Plaintiff          was at all material times a co-ins
              properties, and contents at issue
                                                                                                                    icy was, at
                                              nce with defendants list          ed herein, and this insurance pol
              the applicable policy of insura
                                                                                                                        contents
                                                   and effect relative to      all of the buildings, properties, and
                 all material times, in full force
                                                   at issue herein.
                 that are subject to the dispute
                                                                                                                ter referred to,
                                                                n the       Baptist Parish Council (hereinaf
                        2.     Made Plaintiff herein is St. Joh
                                                                                                            Baptist”), which at
                                                Baptist Parish as        “Plaintiff’ and/or “St. John the
                 collectively with St. John the
                                                                                                          in this action for the
                                                    lified entity       with the authority to proceed
                 all material times herein is a qua
                                                         intiff was at all material tim       es the named insured under the
                  Par   ish of St. John the Baptist. Pla

                                                                      Page 1 of 16
         Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 4 of 40




 applicable policy of insurance with defendants listed herein, and this insurance policy was, at all

material times, in full force and effect relative to all of the buildings, properties, and contents that

are subject to the dispute at issue herein.

    3.      Made Defendant herein is CERTAIN UNDERWRITERS AT LLOYD’S, IONDON,

at all times material herein: a foreign insurer domiciled outside Louisiana, but authorized to do

and doing business in the State of Louisiana as well as in this Parish, which received full payment

for and provided a policy of insurance at issue herein in favor of Plaintiff This defendant, along

with the other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents

at issue herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property

Policy #: 822896). This defendant may be served through its designated Agent for Service of

Process, Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

    4.      Made Defendant herein is iNDIAN HARBOR INSURANCE COMPANY, at all times

material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

business in the State of Louisiana as well as in this Parish, which received full payment for and

provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property Policy

#: 822896). This defendant may be served through its Registered Agent for Service of Process,

Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

    5.      Made Defendant herein is QBE SPECIALTY INSURANCE COMPANY, at all times

material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

business in the State of Louisiana as well as in this Parish, which received full payment for and

provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property Policy

#: 822896). Pursuant to the terms of the insurance policy, this defendant may be served through

its designated Agent for Service of Process, Louisiana Secretary of State, $585 Archives Ave.,

Baton Rouge, LA 70809.

   6.      Made Defendant herein is STEADFAST INSURANCE COMPANY, at all times

material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

business in the State of Louisiana as well as in this Parish, which received full payment for and


                                              Page 2 of 16
         Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 5 of 40




provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

herein under a multi-part and/or collective insurance policy (ArnRisc Commercial Property Policy

#: 822896). This defendant may be served through its Registered Agent for Service of Process,

Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70$09.

    7.      Made Defendant herein is GENERAL SECURITY INDEMNITY COMPANY Of

ARIZONA, at all times material herein: a foreign insurer domiciled outside Louisiana but

authorized to do and doing business in the State of Louisiana as well as in this Parish, which

received full payment for and provided a policy of insurance at issue herein in favof of Plaintiff.

This defendant, along with the other defendants listed herein, insured all of Plaintiffs buildings,

properties, and contents at issue herein under a multi-part and/or collective insurance policy

(AmRisc Commercial Property Policy #: 822896). This defendant may be served through its

Registered Agent for Service of Process, Louisiana Secretary of State, 8585 Archives Ave., Baton

Rouge, LA 70809.

   8.       Made Defendant herein is UNITED SPECIALTY INSURANCE COMPANY, at all

times material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

business in the State of Louisiana as well as in this Parish, which received full payment for and

provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property Policy

#: 822896). This defendant may be served through its Registered Agent for Service of Process,

Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

    9.      Made Defendant herein is LEXINGTON INSURANCE COMPANY, at all times

material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

business in the State of Louisiana as well as in this Parish, which received full payment for and

provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

herein under a multi-part and/or collective insurance policy (ArnRisc Commercial Property Policy

#: 822896). This defendant may be served through its Registered Agent for Service of Process,

Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.




                                             Page 3 of 16
              Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 6 of 40
t




        10.      IvIade Defendant herein is 1-DI GLOBAL SPECIALTY, SE, at all times material

    herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing business in

    the State of Louisiana as well as in this Parish, which received full payment for and provided a

    policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the other

    defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue herein

    cinder a multi-part and/or collective insurance policy (ArnRisc Commercial Property Policy #:

    $22896). This defendant may be served through its Registered Agent for Service of Process,

    Louisiana Secretary of State, $585 Archives Ave., Baton Rouge, LA 70809.

        11.      Made Defendant herein is OLD REPUBLIC UNION INSURANCE COMPANY, at all

    times material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

    business in the State of Louisiana as well as in this Parish, which received full payment for and

    provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

    other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at issue

    herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property Policy

    #: 822896). This defendant may be served through its Registered Agent for Service of Process,

    Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

        12.      Made Defendant herein is GEOVERA SPECIALTY iNSURANCE COMPANY, at all

    times material herein: a foreign insurer domiciled outside Louisiana but authorized to do and doing

    business in the State of Louisiana as well as in this Parish, which received full payment for and

    provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with the

    other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at isscte

    herein cinder a mcilti-part and/or collective insurance policy (ArnRisc Commercial Property Policy

    #: 822896). This defendant may be served through its Registered Agent for Service of Process,

    Louisiatia Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

        13.      Made Defendant herein is TRANSVERSE SPECIALTY INSURANCE COMPANY,

    at all times material herein: a foreign insurer domiciled outside Louisiana but authorized to do and

    doing business in the State of Louisiana as well as in this Parish, which received full payment for

    and provided a policy of insurance at issue herein in favor of Plaintiff. This defendant, along with

    the other defendants listed herein, insured all of Plaintiffs buildings, properties, and contents at

    issue herein under a multi-part and/or collective insurance policy (AmRisc Commercial Property




                                                  Page 4 of 16
                Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 7 of 40
t




    Policy #: 822896). This defendant may be served through its Registered Agent for Service of

    Process, Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA 70809.

          14.       Defendants CERTAIN UNDERWRITERS AT LLOYD’S, LONDON, GENERAL

    SECURITY iNDEMNITY COMPANY Of ARIZONA, GEO VERA SPECIALTY INSURANCE

    COMPANY, HDI GLOBAL SPECIALTY SE, INDIAN HARBOR INSURANCE COMPANY,

    LEXINGTON                INSURANCE        COMPANY,          OLD     REPUBLIC      UNION       INSURANCE

    COMPANY, QBE SPECIALTY iNSURANCE COMPANY, STEADFAST iNSURANCE

    COMPANY,            TRANSVERSE            SPECIALTY iNSURANCE               COMPANY,          and     UNITED

    SPECIALTY INSURANCE COMPANY, are collectively referred to herein as “Defendants” or

    “defendants”.

          15.      Venue is proper in this Honorable Court because a substantial part of the events and/or

    omissions giving rise to the claims occurred in St. Iohn the Baptist Parish; Plaintiffs are domiciled

    in St. John the Baptist Parish; all of the Property that is subject to the insurance claim dispute is

    located in St. John the Baptist Parish; and/or the Loss and/or Property Damage at issue occurred

    in St. John the Baptist Parish.

          16.      Jurisdiction is proper in this Honorable Court because this suit involves a bad faith

    breach of contract which was executed in St. John the Baptist Parish, and which contract/insurance

    policy/contract covered Plaintiffs buildings, properties, and contents at issue, which at all material

    times were located in St. John the Baptist Parish.

                                               BACKGROUND FACTS

          17.      At all times relevant herein, the Parish of St. John the Baptist owned the following

    buildings and properties (hereinafter collectively “Property” and/or “Properties”) and their

    contents therein located at the following addresses in St. John the Baptist Parish, Louisiana:

    Bldg         Property            Location Name            Address       Street      City      State     Zip
    No.            Type                                       Number      Address                 Code
      1          Building      Administration Building         1801      W. Airline   LaPlace      LA      70068
                                                                         Hwy
      2           Building     Parish Warehouse                  186     Parish       LaPlace      LA      70068
                                                                         Road
      3           Building     Parish Office/Warehouse           178     Parish       LaPlace      LA      70068
                                                                         Road
      4            Other       Elevated Water Tank               170     Parish       LaPlace       LA     70068
                 Structures                                              Road
      5           Building     Motor Pool                        194     Parish       LaPlace      LA      70068
                                                                         Road
      6           Building     Utilities Building, Sheriff       492     Historic     Garyville     LA     70051
                               Sub-Station                               Main St.
      7           Building     Health & Human Services           128     Central      Reserve      LA      70084
                               Office                                    Avenue
      8           Building     Maintenance Office                434     Elm Street   LaPlace       LA     70068
      9           Building     St. John Community                115     W4th St.     Reserve       LA     70084
                               Theater

                                                         Page 5 of 16
                                                           _________




              Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 8 of 40




   10           Building    Administration Building         2979        LA 18         Edgard     LA    70049
   11     -     Buildinq    St. John Council on Aging        155        E 3rd St      Edgard     LA    70049
   12           Building    Parish Health Unit               159        E 3rd St      Edgard     LA    70049
   13           Building    Courthouse                      2393        LA 18         Edgard     LA    70049
   14           Building    Public Works                     149        E. 3rd St     Edgard     LA    70049
  15-1          Building    Lyons Water Treatment           2044        Hwy 44        Reserve    LA    70084
                            Plant
  1 5-2         Building    Lyons Water Treatment           2062        Hwy 44        Reserve    LA    70084
                            Plant
  15-3          Building    Lyons Water Treatment           2064        Hwy 44        Reserve    LA    70084
                            Plant
 1 5-4          Building    Lyons Water Treatment           2060        Hwy 44        Reserve    LA   70084
                            P Ia nt
 15-5             Eqpt      Lyons Water Treatment           2058        Hwy 44        Reserve    LA   70084
                            Plant
 15-6             Eqpt      Lyons Water Treatment           2066        Hwy 44        Reserve    LA   70084
                           Plant
 1 5-7           Eqpt      Lyons Water Treatment            2068        Hwy 44        Reserve    LA   70084
                           Plant
 15-8            Eqpt      Lyons Water Treatment            2056        Hwy 44        Reserve    LA   70084
                           P Ia nt
 15-9            Eqpt      Lyons Water Treatment            2054        Hwy 44        Reserve    LA   70084
                           Plant
15-10            Eqpt      Lyons Water Treatment            2048        Hwy 44        Reserve    LA   70084
                           Plant
1 5-1 1          Eqpt      Lyons Water Treatment            2052        Hwy 44       Reserve     LA   70084
                           Plant
15-12            Eqpt      Lyons Water Treatment            2050        Hwy 44       Reserve     LA   70084
                           Plant
15-13            Eqpt      Lyons Water Treatment           2063        Hwy 44        Reserve     LA   70084
                           Plant
15-14            Eqpt      Lyons Water Treatment           2067        Hwy 44        Reserve     LA   70084
                           Plant
15-15            Eqpt      Lyons Water Treatment           2062        Hwy 44        Reserve     LA   70084
                           Plant
15-16          Outdoor     Lyons Water Treatment            N/A        Hwy 44        Reserve     LA   70084
                Prop       Plant
15-17          Outdoor     Lyons Water Treatment            N/A        Hwy 44        Reserve     LA   70084
                Prop       Plant
 17            Building    Water Treatment Plant           2899        Hwy 18        Edgard      LA   70049
 18            Building    Wastewater Plant                 144        Water Plant   LaPlace     LA   70068
                                                                       Road
 20             Other      Water Intake Pump               2062        Hwy 44        Reserve     LA   70068
              Structures




21-1           Building    Woodland Drive Waler            214 B       Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
21-2           Building    Woodland Drive Water             214        Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
21-3           Building    Woodland Drive Water             216        Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
21-4           Building    Woodland Drive Water            216 A       Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
21-5           Building    Woodland Drive Water           214 B        Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
21-6           Building    Woodland Drive Water           214 C        Woodland      LaPlace     LA   70068
                           Treatment Piarti                            Drive
21-7           Building    Woodland Drive Water           214 A        Woodland      LaPlace     LA   70068
                           Treatment Plant                             Drive
 22              Other     Ruddock Booster Station         5039        Old Hwy 51    LaPlace     LA   70068
              Structures
 23              Other     Ruddock Pumping Station,        6027        Old Hwy 51    LaPlace     LA   70068
              Structures   Well #1
 24             Other      Ruddock Wall #2                 6243        Old Hwy 51    LaPlace     LA   70068
              Structures
25             Building    Juvenile Probation Office       1212        Hwy 44        Reserve     LA   70084
26             Building    Elevated Water Tank             1212        Hwy 44        Reserve     LA   70084
27             Building    Agriculture Office               151        E 3rd St      Edgard      LA   70049
28             Building    Wastewater Plant                 132        Cox Ct        Edgard      LA   70049
29             Building    Wastewater Plant                1076        Hwy 44        Garyville   LA   70051
30              Other      Water Boost Station             3134        W. Airline    Reserve     LA   70084
              Structures                                               Hwy



                                                   Page 6 of 16
      Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 9 of 40




 31       Othet      Wastewater Plant                  900    Woodland      LaPlace     LA   70068
       Structures                                             Drive
 32     Building    Library                            170    W. 10th St.   Reserve     IA   70068
 33      Other      Wastewater Plant                  1076    Hwy 44        Garyville   LA   70051
       Structures
 34      Other      Wastewater Plant                   N/A    Belle Point   Reserve     LA   70084
       Structures                                             Rd
 35     Building    Songy Service Center               102    E. Airline    LaPlace     LA   70068
 36     Building    Recreation Storage/ Pool           174    Regala        Reserve     LA   70084
                    House                                     Park Rd
37      Building    Old Concession / Admin.            194    Regala        Reserve     LA   70084
                    Office                                    Park Rd
38      Building    Raquet Ball Courts                194 A   Regala        Reserve     LA   70084
                                                              Park Rd
39     Building     Civic Bathroom                    194 B   Regala        Reserve     LA   70084
                                                              Park Rd
40     Building     St. John Health Unit               473    Central Ave   Reserve     LA   70084
41     Building     Teche Action Clinic                471    Central Ave   Reserve     LA   70084
42     Building     St. John ARC                       101    Bamboo        LaPlace     LA   70068
                                                              Avenue
43     Building     WastewaterTreatment                144    WaterPlant    LaPlace     LA   70068
                    Plant Office Trailer                      Road
                    (formerly Public Works
                    Office Trailer)
44     Building     Homer Boogie Joseph                366    NW 2nd        Reserve     LA   70084
                    Community Center                          Street
45      Other       Wastewater Plant                   472    W 1st         Edgard      LA   70049
      Structures                                              Street
46      Other       Wastewater Plant                  5465    Hwy 18        Wallace     LA   70049
      Structures
47     Building     Parish Council Office             1805    WAirline      LaPlace     LA   70068
48     Building     Driver’s License Office           4034    WAirline      Reserve     LA   70068
49     Building     Atcuri Center                     1020    Cambridge     LaPlace     LA   70068
50     Building     Library                           2979    Hwy 18        Edgard      LA   70049
52     Building     Library                           2920    Hwy 51        LaPlace     LA   70068
53     Building     West Bank Community                173    E Third       Edgard      LA   70049
                    Center
54     Building     Pool House                         137    Castle        Edgard      LA   70049
                                                              Drive
55      Other       Water Intake Pump                 2899    Hwy 18        Edgard      LA   70049
      Structures
56      Other       Elevated Water Tank               1601    La            Wallace     LA   70049
      Structures                                              Purchase
57      Other       Elevated Water Tank               1197    Hwy 18        Wallace     LA   70049
      Structures
58      Other       Elevated Water Tank                392    Rosenwald     Reserve     IA   70084
      Structures                                              Street
59      Other       Elevated Water Tank               3254    Jefferson     Reserve     LA   70084
      Structures                                              Highway
60      Other       Elevated Water Tank                512    E Airline     LaPlace     LA   70068
      Structures                                              Hwy
61      Other       Elevated Water Tank               3164    Hwy 44        Garyville   LA   70051
      Structures
62      Other       Elevated Water Tank              210CR    La            Wallace     LA   70049
      Structures                                              Purchase
63      Other       Elevated Water Tank               5243    Hwy 18        Wallace     LA   70049
      Structures
64     Building     Animal Shelter                    488     W. 2nd        LaPlace     LA   70068
                                                              Street
65      Other       Elevated Water Tank               857     Belle Terre   LaPlace     LA   70068
      Structures                                              Blvd.
66     Building     Civic/Community Center            2900    Hwy 51        LaPlace     LA   70068
67     Building     Lapeyrolerie-Montz- Senior        214     Regala        Reserve     LA   70084
                    Center                                    Park Rd.
68      Other       Pumping Station                   484     Airport       Reserve     LA   70084
      Structures                                              Road
69     Building     Library                           493     Historic      Garyville   LA   70051
                                                              Main
70     Building     12x50 Stationary Office           102     E Airline     LaPlace     LA   70068
                    Trailer                                   Hwy.
71     Building     Regala Gymnasium                  194     Regala        Reserve     LA   70084
                                                              Park Rd.


                                              Page 7 of 16
     Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 10 of 40




31      Other      Wastewater Plant                  900     Woodland      LaPlace     LA   70068
      Structures                                             Drive
32     Building    Library                            170    W. 10th St.   Reserve     IA   70068
33      Other      WastewaterPlant                   1076    Hwy44         Garyville   LA   70051
      Structures
34      Other      Wastewater Plant                   N/A    Belle Point   Reserve     LA   70084
      Structures                                             Rd
35     Building    Songy Service Center               102    E. Airline    LaPlace     LA   70068
36     Building    Recreation Storage! Pool           174    Regala        Reserve     LA   70084
                   House                                     Park Rd
37     Building    Old Concession ! Admin.            194    Regala        Reserve     LA   70084
                   Office                                    Park Rd
38     Building    Raquet Ball Courts                194 A   Regala        Reserve     LA   70084
                                                             Park Rd
39     Building    Civic Bathroom                    194 B   Regala        Reserve     LA   70084
                                                             Park Rd
40     Building    St. John Health Unit               473    Central Ave   Reserve     LA   70084
41     Building    Teche Action Clinic                471    Central Ave   Reserve     LA   70084
42     Building    St. John ARC                       101    Bamboo        LaPlace     LA   70068
                                                             Avenue
43     Building    WastewaterTreatment                144    WaterPlant    LaPlace     LA   70068
                   Plant Office Trailer                      Road
                   (formerly Public Works
                   Office Trailer)
44     Building    Homer Boogie Joseph                366    NW 2nd        Reserve     LA   70084
                   Community Center                          Street
45      Other      Wastewater Plant                   472    W 1st         Edgard      LA   70049
      Structures                                             Street
46      Other      Wastewater Plant                  5465    Hwy 18        Wallace     LA   70049
      Structures
47     Building    Parish Council Office             1805    WAirline      LaPlace     LA   70068
48     Building    Driver’s License Office           4034    WAirline      Reserve     LA   70068
49     Building    Arcuri Center                     1020    Cambridge     LaPlace     LA   70068
50     Building    Library                           2979    Hwy 18        Edgard      LA   70049
52     Building    Library                           2920    Hwy 51        LaPlace     LA   70068
53     Building    West Bank Community                173    E Third       Edgard      LA   70049
                   Center
54     Building    Pool House                         137    Castle        Edgard      LA   70049
                                                             Drive
55      Other      Water Intake Pump                 2899    Hwy 18        Edgard      LA   70049
      Structures
56      Other      Elevated Water Tank               1601    La            Wallace     LA   70049
      Structures                                             Purchase
57      Other      Elevated Water Tank               1197    Hwy 18        Wallace     LA   70049
      Structures
58      Other      Elevated Water Tank                392    Rosenwald     Reserve     IA   70084
      Structures                                             Street
59      Other      Elevated Water Tank               3254    Jefferson     Reserve     LA   70084
      Structures                                             Highway
60      Other      Elevated Water Tank                512    E Airline     LaPlace     LA   70068
      Structures                                             Hwy
61       Other     Elevated Water Tank               3164    Hwy 44        Garyville   LA   70051
      Structures
62      Other      Elevated Water Tank              2100 R   La            Wallace     LA   70049
      Structures                                             Purchase
63       Other     Elevated Water Tank               5243    Hwy 18        Wallace     LA   70049
      Structures
64     Building    Animal Shelter                     488    W. 2nd        LaPlace     LA   70068
                                                             Street
65      Other      Elevated Water Tank                857    Belle Terre   LaPlace     LA   70068
      Structures                                             Blvd.
66     Building    Civic/Community Center            2900    Hwy 51        LaPlace     LA   70068
67     Building    Lapeyrolerie-Montz- Senior         214    Regala        Reserve     LA   70084
                   Center                                    Park Rd.
68      Other      Pumping Station                    484    Airport       Reserve     LA   70084
      Structures                                             Road
69     Building    Library                            493    Historic      Garyville   LA   70051
                                                             Main
70     Building    12x50 Stationary Office            102    E Airline     LaPlace     LA   70068
                   Trailer                                   Hwy.
71     Building    Regala Gymnasium                   194    Regala        Reserve     LA   70084
                                                             Park Rd.


                                              Page 7 of 16
            Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 11 of 40




      72      Building   Senior Citizen Center            3463         Highway 18     Edgard     LA   70049
     73-1     Building   Administration Building          1811         Airline Hwy    LaPlace    LA   70068
•    73-2      Eqpt      Generator                        1811         Airline Hwy    LaPlace    LA   70068
      74      Building   Water Treatment Plant            1195         Hwy 643        Vacherie   LA   70090
      75      Building   Wastewater Plant                 241          Za Rd          LaPlace    LA   70068
      76      Building   Safe Room                       1801-A        W. Airline     LaPlace    LA   70068
._____________
                                                                       Hwy.



        1$.    At all times relevant herein, Defendants jointly and/or collectively provided a policy of

    commercial, dwelling, and contents insurance, bearing Policy/Account ID Number $22296 (the

     Policy’), to Plaintiff which was in full force and effect, and which covered the Property at issue

    and the contents therein against perils including hurricanes, wind, hail, and/or water. Defendant

    placed a valuation upon the covered Property and the contents therein and used this valuation for

    purposes of determining the premium charge to be made under the Policy at issue.

        19.    The Policy is jointly and/or collectively held by all of the Defendants herein, and each

    defendant (and its respective certificate/policy identifier) is set forth in the Policy as follows:

    CERTAN UNDERWRITERS AT LLOYD’S, LONDON (AMR-73 $37); INIDIAN HARBOR

    TNSIJRANCE COMPANY (AMP 7539972-00); QBE SPECIALTY NSURANCE COMPANY

    (MSP-3 1855); STEADFAST INSURANCE COMPANY (CPP                                   1140746-00); GENERAL

    SECURITY INDEMNITY COMPANY OF ARIZONA (01T0 29659-15378-21-00); UNITED

    SPECIALTY       INSURANCE        COMPANY           (LTSI2862900);         LEXINGTON INSURANCE

    COMPANY (LEX-08056 383-00); RDI GLOBAL SPECIALTY, SE (HAN-2613$-00); OLD

    REPUBLIC NSRUANCE COMPANY (ORAM PR010863-00); GEOVERA SPECIALTY

    INSURANCE COMPANY (GVS-12056-O0); and TRANSVERSE SPECIALTY INSURANCE

    COMPANY (TSAMPR000I528-00)

       20.     P1 aintiff fully and timely paid the premiums and all other amounts owed to Defendants

    for the Policy and the coverage it afforded over the Property.

       21.     The premiums which Plaintiff timely and fully paid to Defendants, for the Policy and

    the coverage it afforded over the Property, amounted to three hundred thirty-six thousand seven

    hundred forty dollars and no cents ($336,740.00), and Plaintiff paid an additional twenty-six

    thousand two hundred ninety-two dollars and sixty-four cents ($26,292.64) for fees and taxes.

       22.     The premiums which Plaintiff timely and fully paid to Defendants, for the Policy and

    the coverage it afforded over the Property, were paid timely and fully per defendant as follows:

    568.484 to CERTAIN UNDERWRITERS AT LLOYD’S, LONDON, $14,589 to INDIAN

    HARBOR       INSURANCE        COMPANY;          $62,376       to    QBE    SPECIALTY INSURANCE


                                                   Page $ of 16
       Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 12 of 40




COMPANY; $45,389 to STEADFAST INSURANCE COMPANY; $21,073 to GENERAL

SECURITY INDEMNITY COMPANY OF ARIZONA; $17,832 to UNITED SPECIALTY

INSURANCE COMPANY; $30,799 to LEXINGTON INSURANCE COMPANY; $14,589 to

HDI GLOBAL SPECIALTY SE; $14,529 to OLD REPUBLIC UNION INSURANCE

COMPANY; $14,589 to GEOVERA SPECIALTY INSURANCE COMPANY; and $32,421 to

TRANSVERSE SPECIALTY INSURANCE COMPANY.

     23.   On or about August 29, 2021, Hurricane Ida struck Southeast Louisiana as one of the

most powerful storms in U.S. history. As detailed by the U.S. National Weather Service,

“Hurricane Ida made landfall as Category 4 Hurricane in Lower Lafourche Parish near Port

Fourchon with maximum sustained wind speeds of 150 mph”.’

     24.   Hurricane Ida was a Category 4 storm with unprecedented winds, and caused major

damage to buildings throughout Southeast Louisiana, including the greater New Orleans area and

surrounding parishes throughout this St. John the Baptist Parish. cThe widespread damage spread

well inland across Southeast Louisiana and Southern Mississippi as Hurricane Ida remained at

hurricane strength into southwest Mississippi near McCornb”.2

     25.   On or about August 29, 2021, Hurricane Ida damaged the exterior, interior, and roof of

the Property or Properties (again, which herein means each of the bctildings listed above), allowing

water to infiltrate the interior as a direct result of that damage and otherwise causing significant

damage to and throughout the Property and/or Properties (“the Loss” or “Property Damage”),

including contents therein, all of which damage was covered under the Policy.

     26.   The Property and contents therein were significantly damaged by and suffered a

diminution in value as a result of Hurricane Ida. These significant Hurricane Ida damages to the

Property (including the contents therein) occurred prior to any purported damage to the Property

(or contents therein) by any non-covered peril, including any type of damage purportedly excluded

by the policy.

     27.   On or about September 1, 2021, Plaintiff reported the Loss to Plaintiffs insurers,

Defendants, and were assigned claim number 4186766 (“the Claim” or “Insurance Claim”).




1
    I tpsUw      w   Lgcw’ix”hurr cam. da202
2
    Id
                                            Page 9 of 16
          Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 13 of 40




    28.      Plaintiff also took immediate action and expended reasonable efforts, particularly

under the circumstances of this natural disaster, to mitigate and/or minimize the various damages

to the Property.

    29.      After Ptaintiff provided notification of the Loss, Defendants inspected the Property,

and provided an estimate on the Claim. This estimate, however, grossly underreported the Property

Damage.

   30.       Defendants’ inspection of the Property constituted satisfactory proof of loss, as that

term is used in conjunction with Louisiana’s bad faith statutes, LaRS. § 22:1892 and 22:1973.

   31.       Defendants were also provided multiple opportunities to further inspect the Property

and/or Properties, Equipment, and contents, and Defendants were repeatedly allowed access to the

Property so that Defendants could evaluate the extensive Hurricane Ida damage.

   32.       Plaintiff has incurred significant expenses as a result of the mitigation work which was

necessitated by the extensive Hurricane Ida damage to the Property. In addition, Plaintiffs’

Property requires separate extensive repair due to Hurricane Ida.

   33.       Plaintiff has repeatedly provided notice to Defendants about the expenses incurred by

Plaintiff for Hurricane Ida emergency mitigation work and damages.

   34.       Defendants have failed and/or refused to pay and/or reimburse for the mitigation costs

incurred by Plaintiff

   35.       To date, Defendants have only provided Plaintiff, with the following unconditional

tenders, January 12, 2022 ($650,000), May 23, 2022 ($1,012,741.56), August 15, 2022

($1,629,951.03); and March 24, 2023 ($1,200,636.20), for a total of $4,493,328.70 in

reimbursement for the Hurricane Ida property damage, mitigation costs, and other costs and

damages sustained by Plaintiff.

    36.      Defendants have also significantly underpaid Plaintiff for the amounts which will be

required to repair the extensive (and covered) Hurricane Ida damage to the Property.

    37.      Defendants’ adjustment of the Claim was unreasonably low, unrealistic, and failed to

provide the opportunity to properly conduct the needed repairs to the Property Damage caused by

Hurricane Ida.

    38.      As a result of Defendants refusing and/or failing to adjust and/or pay the Claim fairly

or timely, undersigned counsel was hired, and additional experts were retained to inspect the

Property as well as document and estimate Property Damage and/or the Claim.


                                             Page 10 of 16
          Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 14 of 40




    39.      Despite receiving these multiple forms of satisfactory proof of loss, Defendants have

yet to tender adequate insurance proceeds (which also includes refusing to reimburse Plaintiff for

amounts reasonably paid by P1 ai ntiff for mitigation).

    40.      Plaintiff attempted to recover the remaining amounts of the covered damages and/or

insurance proceeds due from Defendants to no avail.

    41.      Defendants’ failcire to comply with the terms of their own Policy at issue herein caused

and continues to cause significant delay to the repair of the Property as well as additional general

and/or special damages to Plaintiff.

    42.      Upon information and belief, relative to the Property Damage and/or Claim at issue,

Defendants purposely and/or negligently: a) failed to timely tender proceeds due after having

received satisfactory proof of loss; b) misrepresented the terms and conditions of the Policy at

issue; c) conducted the investigation and claims handling in bad faith; ci) manipulated and/or set

pricing software to artificially suppress the cost of repairs below market value; e) failed to

adequately pay for losses as required by the Policy, and/or f) failed to include adequate overhead

and profit in their estimates of damages.

    43.      Plaintiff has incurred and will continue to incur additional expenses and/or delays in

making repairs because Defendants failed to timely pay for losses due under the Policy and/or for

the Claim at issue.

    44.      Plaintiff has incurred professional expenses, including expert and/or attorney’s fees, to

determine and/or prove that Defendants wrongfully failed to adequately/timely pay on the Claim

at issue.

    45.      Plaintiff has sustained and continue to sustain inconvenience and/or loss of use because

Defendants failed to timely pay for losses due under the Policy and/or for the Claim at issue.

                      CAUSE OF ACTION         —   Breach of Insurance Contract

    46.      All allegations contained in this Petition are hereby adopted and re-alleged.

    47.      Despite having adequate proof of loss, Defendants failed to timely tender adequate

funds under the Policy.

    48.      At all material times herein, an insurance contract, the Policy, existed between Plaintiff

and Defendants, which provided coverage for the Property Damage and/or the Hurricane Ida Claim

at issue herein.




                                              Page 11 of 16
      Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 15 of 40




    49.     Upon information and belief, Defendants breached the Policy and/or insurance contract

by purposely and/or negligently: a) failing to timely tender proceeds due after having received

satisfactory proof of loss; b) misrepresenting the terms and conditions of the Policy at issue; c)

conducting the investigation and claims handling in bad faith; d) manipulating and/or setting

pricing software to artificially suppress the cost of repairs below market value; and/or e) failing to

adequately pay insurance proceeds as required by the Policy, and/or f) failing to inclctde adequate

overhead and profit in their estimates of damages.

    50.     Plaintiff has suffered and continue to suffer general, special and/or consequential

damages as a result of Defendants’ breaches of the insurance contract.

                                  CAUSE Of ACTION          -   Bad Faith

    51.     All allegations contained in this Petition are hereby adopted and re-alleged.

    52.     The actions and/or inactions of Defendants in failing to adequately compensate Plaintiff

for the covered losses under the Policy were arbitrary, capricious, and without probable cause as   -




those terms are used in conjunction with La. R.S. § 22:1892 and 22:1973, making Defendants

liable for statutory bad faith penalties.

    53.     Under La. RS. § 22:1973, an insurer owes a good faith duty and fair dealing to an

insured and has an affirmative duty to adjust claims fairly and promptly; failing to pay a claim in

a manner arbitrary, capricious or without probable cause is in violation of La. R.S. § 22:1973.

    54.     “   [F jailing to pay the amount of any claim due any person insured by the contract within

sixty days after receipt of satisfactory proof of loss from the claimant when such failure is arbitrary,

capricious, or without probable cause” is considered “bad faith” and is in violation of La. R.S. §

22: 1973.

    55.     La. R.S. § 22:1892 imposes bad faith penalties on insurers who fail to: a) adequately

pay claims following satisfactory proof of loss within thirty (30) days, orb) make a written offer

to settle any property damage claim within thirty (30) days after receipt of satisfactory proofs of

loss of that claim.

    56.     Defendants are in violation of La. R.S. § 22:1973 and 22:1892 for failing to provide

Plaintiff adequate payment in connection with the Property Damage and/or the Claim, despite

having received satisfactory proof of loss following its own inspection(s) of the Property, and/or

after Plaintiff provided further documentation of the Property Damage and/or the Claim.




                                               Page 12 of 16
          Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 16 of 40




Moreover, Defendants’ failure to timely tender adeqttate payment was unjustified, and without

reasonable or probable cause or excuse.

    57.      Defendants are in violation of La. R.$. § 22:1973 and 22:1892 for failing to make a

written offer to settle the Property Damage and/or the Claim within thirty (30) days after receipt

of satisfactory proofs of loss of the Property Damage and/or the Claim.

    58.      Upon information and belief, relative to the Property Damage and/or Claim at issue,

Defendants acted in bad faith by arbitrarily and capriciously: a) failing to timely tender proceeds

due after having received satisfactory proof of loss; b) misrepresenting the terms and conditions

of the Policy at issue; c) conducting the investigation and claims handling in bad faith; U)

manipulating and/or setting pricing software to artificially suppress the cost of repairs below

market value; and/or e) failing to adequately and/or timely pay insurance proceeds as required by

the Policy and the relevant statutes, f) failing to make a written offer to settle within thirty (30)

days after receipt of satisfactory proofs of loss of the Claim, and/or g) failing to include adequate

overhead and profit in their estimates of damages.

    59.      Upon information and belief, further evidence of Defendants’ bad faith will be revealed

through the discovery process.

    60.      Plaintiff has suffered and continue to suffer general, special and/or consequential

damages as a result of Defendants’ bad faith.

                                             DAMAGES

    61.      All allegations contained in this Petition are hereby adopted and re-alleged.

    62.      Defendants are liable to Plaintiff, relative to the Property Damage and/or Claim at issue,

under the following legal theories: a) Breach of contract; b) Bad faith and/or negligent claims

adjusting practices, including but not limited to failing to adequately adjust the Property Damage

and/or the Claim, misrepresentation of the terms of the applicable insurance Policy, purposeful

and/or negligent under-scoping of damages leading to a failure to pay the relevant claims,

purposeful and/or negligent price manipulation leading to a failure to pay the relevant claims,

failure to pay timely for covered damages Defendants knew, or should have known existed at the

time of the original adjustment/inspection as well as at the time of Defendants’ receipt of other

proof of loss, failing to timely tender adequate supplemental payment(s), etc., leading to various

general, special and/or consequential damages, including but not limited to delayed and/or

additional repair costs, loss of use, and the incurrence of professional and/or expert fees; c) Any


                                              Page 13 of 16
       Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 17 of 40




and all other legal theories of recovery that become apparent during the discovery process and

proven at the trial of this matter.

    63.        As a result of Defendants’ breaches of contract, bad faith claims adjusting, and other

bad acts. Plaintiff has incurred and/or sustained the following, non-exclusive damages: a)

Diminution of the value of the Property; b) Underpayment and/or delayed payment of covered

damages/repair costs, c) Actual repair costs, temporary repair costs, as well as increased repair

costs; d) Loss of use, e) Personal Property and/or contents damage; f) Penalties delineated in La.

RS. § 22:1892 and 22:1973; g) Attorneys’ fees, other professional fees, and litigation costs

associated with the bringing of this action; h) Other general, special and/or consequential damages;

and i) Any and all other damages that are shown through discovery and/or proven at the trial of

this matter.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that Defendants be duly cited and served, and that after due

requirements and proceedings, there be judgment against Defendants in favor of Plaintiff in such

sums as the Court deems just, together with legal interest, costs, and all general and equitable relief

allowed. further, Plaintiff prays for relief and judgment against the Defendant, as follows:

          1. Compensatory, general and/or contractual damages;

          2. Consequential and/or special damages, including bcit not limited to those incurred as a

          result of Defendants’ bad faith;

          3. Penalties as a result of Defendants’ bad faith;

          4. Attorneys’ fees as a result of Defendant’s bad faith;

          5. Prejudgment interest at the highest lawful rate allowed by law;

          6. Interest on the judgment at the highest legal rate from the date of judgment until

          collected;

          7. All expenses and costs of this action; and

          8. Such further relief as this Court deems necessary, just and proper.




                (Signature of Counsel and Service Information on the following Pages)




                                               Page 14 of 16
     Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 18 of 40




                                       RESPECTFULLY SUBMITTED:

                                       IRHNO, AVIN & HAWKINS LAW FIRM




                                       ANTHON. IRPNO (#24727)
                                       DUSTNf. POCII (#3345 1)
                                       I. REED POOLE, JR. (#34034)
                                       2216 Magazine Street
                                       New Orleans, Louisiana 70130
                                       Tel:   (504) 525-1500
                                       Fax: (504) 525-1501
                                       Email: a] rp no(airpinol aw. corn
                                              dpoche(iI.irpino aw,com
                                              rpool e(i)i rpi nni

                                       ALVENDIA KELLY & DEMAREST
                                       Roderick “Rico” Alvendia, LA Bar No. 25554
                                       Jeanne Dernarest, LA Bar No. 23032
                                       J. Bart Kelly, III, LA Bar No. 24488
                                       1515 Poydras Street, Suite 1400
                                       New Orleans, Louisiana 70112
                                       Tel:    (504) 200-0000
                                       Fax:    (504)  200-0001
                                       Email: ricotiakdlalaw.com

                                                bart(akd1 alaw. tf)

                                       SPEARS & SPEARS ATTORNEYS AT LAW
                                       Ike Spears, La. Bar No. 17811
                                       909 Poydras Street, Suite 1825
                                       New Orleans, Louisiana 70112
                                       Tel:   (504) 593-9500
                                       Fax: (504) 523-7766
                                       Email: 1Lea.pusl4v corn.


SHERIFF, PLEASE SERVE THE FOLLOWING ELEVEN (11) COMPANIES:


CERTAIN UNDERWRITERS AT LLOYD’S, LONDON
Through its A gentfor Service ofProcess:
Louisiana Secretary of State
$585 Archives Ave., Baton Rouge, LA 70809

INDIAN HARBOR INSURANCE COMPANY
Tiwough its Agent for Service ofProcess:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

QBE SPECIALTY INSURANCE COMPANY
Through its Agent for Service ofProcess:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

STEADFAST INSURANCE COMPANY                                           I HEREBY CERTIFY ThAT TH ABQV AND FREGOING,
                                                                                     CdRECT 0 QFTh         IGINA
Through its Agentfor Service ofProcess:                                  ISATPUE
                                                                             0    DOFRE          INMY
Louisiana Secretary of State                                                      gy.      eFcOOR
8585 Archives Ave., Baton Rouge, LA 70809


                                      Page 15 of 16
    Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 19 of 40




GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA
Through its Agentfor Service ofProcess:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

UNITED SPECIALTY INSURANCE COMPANY
Through its A gentfor Service ofProcess:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

LEXINGTON INSURANCE COMPANYs
Through its Agent/or Service o/Process:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

HDI GLOBAL SPECIALTY SE
Through its Agent/or Service of Process:
Louisiana Secretary of State
$585 Archives Ave., Baton Rouge, LA 70809

OLD REPUBLIC UNION INSURANCE COMPANY
Through its Agent for Service o/Process:
Louisiana Secretary of State
$585 Archives Ave., Baton Rouge, LA 70809

GEO VERA SPECIALTY INSURANCE COMPANY
Through its A gentfor Service ofProcess:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809

TRANSVERSE SPECIALTY INSURANCE COMPANY
Through its Agentfor Service of Process:
Louisiana Secretary of State
8585 Archives Ave., Baton Rouge, LA 70809




                                       Page 16 of 16
                 Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 20 of 40
                                                                      1’




                                                                                                                                      ORIGINAL



                     IN RE: HtRRICANE IDA CLAIMS                        :            STATE Of LOUISIANA

                                                                                     PARISH OF ST. JOHN
                                                                                     40Th JUDICIAL DISTRICT COURT




                                                                                 DEPUTY CLERK


                                                       CASE MANAGEMENT ORDER
                           REGARDING CERTAIN PROPERTY DAMAGE SUITS ARISING FROM
                                              HURRICANE IDA

0.
                             On \nnusi 2. 202. I lunienne Ida came ashore near Port Fourchon. Louisiana and left
           0,
—t                    uestruetiun ti lu hiut St. IOn Parish as a najor Hurricane,t Major Hurricane—force winds
           0

           ,..
                      niurcd in ccess nI 100 mph and rain ni I? inches inflicted catastrophic damage in this
                                                                                                                                    to as
      2,              t:urt’s jurisdietkn, The causes ol’ action arising therefrom may somethiies be referre
I-    0
                      ‘‘tue I lurricne C scs
_r          0
           DJ
                                                                                                                                  a high
                               In the tilermath ol (hec’ catusoophie natural disasters, this Court recognizes
_•-




 N                                                                                                                     Act 318 of the
                       numhe       i instance c verue—related litigation inked to the Hurricane. In
 -o
                                                                                                                   expanding judicial
                       21)21 Rewhn Session the I ,eaiiaIure of Louisiana amended the laws
                                                                                                              stemming from certain
                       authority related to special masters and mandatory mediation in cases

                        mnoi disasters t”.\ct 31     “   )

                                .\et 31 X nut horii.es this court to issue this CMO,
                                                                                              this Court finds it warranted to best

                                                                                                           Accordingly. this Court’s
                        omimdaie the adjudiemion of Ilurricanc’ cases in this Court.5
                                                                                               these related matters, in spite of the
                        aim onhinues to be the just and expedient rc’solution of
                                                                                              primary goal of enabling the St. John
                         increased strain on the (nurts resources. and with the
                                                                                         recovery efforts, in the aftermath of the
                         Parish cominimity to move l.irward with crucial

                         Ilurrienne and the onmiin ($oronavirus pandemic.




                                                                                                                                              ml
                                     o ii thead’     accinuhaki rouge              wslnrticlej)ccI de86—()a90—l lec—827e—6342 tO2bSdSd,ht
                            hups
                                                                   1is_ttc’s/live_biog/hurricaneida—liVe—UPdate$83O
                             huts: o nl,cncu s.ctinhlic\’.s                   liups:J/wwwweathetgoV/liXJhurriCafleLda2O2t ; and
                           at 277)Si acrd I 17Xtt26IivcRtog[k;idct
                                               o a in article cs
                           e 3t(44      t) —Qtc—ii 3—) uh2XcthXa                                                          Order, including caases
                                                                                     10 Hurricane Ida is subject to this
                               Alt iticc I act emeeflilig damage related                                                            insured due to
                                             crc the tlutd-pwi demand or cross
                                                                                      claim is a claim against an insurer byan
                            of action
                            dwnagc I ron thc I lurricatic                                                                                   by the
                                                                                             I), A major disaster declaration was made
                                 liurticanc Ida tuHliOc’s pirtwlt to kS 13:4 165(Fif                           No. HQ-21-lS1.      St. John Parish
                             lrcsidcItt it St loOn Parish in I turticane Ida
                                                                                      under FEMA Release
                                                                                          (FEMA designation    DR—461    I—LA).
                             t1tinliticd hr oiW tOtal assistance fir the Hurricane
                                                                          lbr  the strongest  hurricane to hit Louisiana and the fifth strongest
                                  Ilurricane Ida ties I kirucanc laura                                         of Hurricane Laura and this CMO
                                                                                as enacted in the aftermath
                              I turricnc II tin the tuned Stales \c 315                                    14h
                                                                                                               Judicial District Court following
                                                                  t.Mt 1 successfulIs adopted by the
                                5 tinkled c\tCIt’iVI\ it the
                               I tnrricanc 1
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 21 of 40




                                                                                                           iately
             IIi$JJEREBV ORDERED that this Case Manaaement Order shall be immed

    tiplicaHe to nfl I urricane Lases currently pending or hereafter filed in this Court.

    SECT1O 1. DISASTER PROTOCOLS FOR INITIAL DISCLOSURES

             the (uirt has reviewed the Disaster Litigation Initial Discovery Disaster Protoc
                                                                                                               ols

                                                                                                               ble
    adopted 1w the I. nited States District Court for the Western District of Louisiana, applica

     to all I unicane Cases” and the nearly identical Disaster Protocols implemented by
                                                                                                          the U.S.

     District C ourt lcr the SoLithern District olTexas following Hurricane Harvey
                                                                                                ? Theseflisaster

                                                                                                  ity, to facilitate
     lotocols call hr prompt sharing oispecilic information to promote uniform

     prompt evaluation of each ease. to Ibster communication between the
                                                                                          parties, and tO facilitate

     an expedited mediation procedure.
                                                                                               d hereto as Exhibit
              Accordinnlv. this Court has adopted the Disaster Potoco[s attache
                                                                                  to all Hurricane cases filed in
      “A” in the I )isaswr Protenls order and makes them applicable

      this Uoutt. Additionally. IT IS HEREBY ORDERED
                                                                              that there shall be an automatic

                                                                               the 30111 day after service of the
      exteflsion ut time to Answer in every Hurricane case ttntit
                                                                                 be granted except in exigent
       plaintifls petition. No further extensions of time shall

       ci ic urn slant e..
                                                                                      disclosures and exchange of
                 cclditiooally. 11 IS HEREBY ORDERED that the

       inlbrnmticm required by the Disaster Protocols order
                                                                          shall be due 45 days from the date that

                                                                             sometimes hereinafter be referred to
        dePndant tiles responsive pleadings. [his deadline may
                                                                        agree to further extension of time to file
        as the “Disekisure Deadline” Lven il the patties

        responsive pleadings. the Disclustue Deadline
                                                                shall he no more than 90 days from the service
                                                                                                                       the
        of he petition unless the extension of the.
                                                            Disclosure Deadline is expressly extended by

                                                                 express Order of this Cdurt to extend it.
         written consent otall parties or linisuant to an
                                                                   each party shall supplement their Initial
                   IT IS FRT1ERDERjD                        ,




                                                               any scheduled mediation pursuant to
                                                                                                            the CMO.8
          Disclosures at least twenty-cne days prior to
                                                                           discoveiy is stayed until certification of
                    ITIS FURTHER ORDERED that all other
                                                                                                                    formal
                                                            the Special Master may authorize limited
          the completion ui the 551’. However,
                                                              circumstances.
           discovery during the SSP in extraordinary


                     nw
            cuvervtroicccnls 1(11 t 2 t .tidO.pdi                                                          Discovery
                                                              Disic/ of Texas. Disaster Litigation Initial
                                                                                  .




              tm/cl Soc/cc I cc/nil ( oucifr (1w .Siuiltc’nci
            Prutocots. ,nuhihJc u
                                                                                                          or disorganized
                                                           umter the Disaster Disclosures too voluminous
                       ii Ii t,\S
               tIthe Special Master flncls.a pricclcietion                                       numbered and organized
                    useful   tiir the 551. he may reqiirn that the Disaster Disclosures be bates
             to  he
             viiti a fahle c

                                                                    2
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 22 of 40




    SECTIoN 2. PRIVILEGE

           !)oeumcnt l.u which a pHvdege may properly be asserted
                                                                                      include communications

                                                                  theories of an attorne                          y.9
     tlia reflect the mental mprc,ssms. conclusions, opinions, or

     However. us iceugnized by federal courts concerning hurrica
                                                                               ne cases “Documents routinely

                                                                               limited to adjusters’ reports, and
     prepared in the ordiinuy course o busmess. including but not
                                                                              ged and should be produced.”°
     other expert anal) ses. including draft reports, are not privi[e

             Iherekue. IT IS FURTHER ORDERED that any
                                                                               party withholding disclosure of

                                                                                     d pursuant to the Disaster
     any intriuatinn or documents, where said disclosure is require
                                                                                 l on or before the Disclosure
      Protocols. shall ,ptndtiee a privilege log to opposing counse
                                                           ation or               documents that it declined to
      Deadliiie. lhi privilege log shall detail all inform
                                                                           The log should include the author of
      produce on the basis al that the material is privileged.
                                                                  date of the document, and the nature of the
      the document, the recipient of ihe document, the

       privilege asserted.

              Any Wspute concerning privileged items shall
                                                                           be refened to the Special Master. If a

       motion to compel related to the privilege log is
                                                                filed, or if any other privilege dispute is raised

                                                                   be provided to the Special Master in camera
       with the Xpeial Master. the disputed items shall

        within ten days. Ihe Special Master or his
                                                             designated deputy shall pt’ovide all parties with a

                                                                     d privilege.
        report and recommendation concerning the claime
                                                                                  n within seven days of its receipt
                  I neither part): opposes the report and recommendatio
                                                                                                                        and
                                                                ing it. If either party opposes the report
         then the ( ourt may issue an Order confirm
                                                                                                                     to the.
                                                             receipt then the report shall be transmitted
         recommendation within seven days al its
                                                             the in camera documents. The opposing
                                                                                                                party may
         Court by the Special Muster together with
                                                                                                                  receiving
                                                            and recommendation within seven days of
          [lie a memorandum concerning the report
                                                                                                               filing of the
                                              file             a response within five days of the
          the report. and any other patty may

          cippositicu.
                                                           AND APPOINTED NEUTRALS
           SECTION 3. SPE(’IAL MASTER
                                                                                                                   infra, the
                                                                          d by the Court in the introduction
                    Considering the liaregoing reasons supplie



             la. t I’ art tt1liAm
                                                                       Louisiana, In Re Hurricane Laura and Delta
               :1         I )isrwm C mitt ft the \stern District of
                                     (hi/rr \i. 1. p. 3. uvtu/tth/e
                                                                    at
            ((Six: iOlt thi,iiiuiiI                                                                      .O222i.tzd,
                                                     hliles/t PLOA   DS/Hurncane_Lauta_DelLa_CMO_l
            https. non taoit uscumiS auvsimcslawd
            pdi
                                                                                                                        Case
                                            tot the hustern District ot
                                                                          New York, to Re Hurricane Sandy cases,
              nited Stumes District (miii                                               S.gOV/flleSlgefleral
                                                        h/e a! https:llimg.nyed.usCOUrt
              tfuuuiawi’ni C)rclr Vii. 1. p. Itt. amuila
             i.irdes I .1 nict t cmiii I pitt’
   Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 23 of 40



                                                                                                 ORIGiNAL



IN RE: HURRICANE IDA CLAIMS                                STATE OF LOUISIANA

                                                           PARISH OF ST. JOHN
                                                            40TH JUDICIAL DISTRICT COURT
                 St. John the Baptfst’parish
                      Clerk of Court
                   Eliana DeFrancesch
          Fited:Edgu date: 10/21/21 Tme2:46pM
                                                         DEPUTY CLERK

                                                    OLS IN CERTAIN
  STANDING ORDER REGARDING INITIAL DISCOVERY PROTOC
                                                        IDA
         PROPERTY DAMAGE SUITS ARISING FROM HURRICANES
                                                                                    l discovery disclosure
        This Court hereby ORDERS the that the following protocols for initia
                                                                         party insurance property damage
 (‘Disaster Protocols”) shall be observed in all cases involving first-

 claims arisini from Hurricane Ida (1-lurricane Cases”):

                                                                            nsive pleading or motion, the
         Within 45 days after the defendants submission of a respo
                                                            categorized under the Disaster Protocols, for
 pa1ies must exchange any documents or information
                                                          ocols. All parties shall remain under an ongoing
  any such time periods identified in the Disaster Prot
                                                            delay in the time to file responsive pleadings
  duty to supplement these responses. No extension or
                                                    90 days        from the service of the petition unless
  shall extend the Disclosure Deadline to more than
                                                  or        pursuant to an express Order of this Court
   the extension is by the consent of all parties
                                                                                                         iation.
                                                   lementat response is due 21 days prior to med
   extending the Disclosure Deadline. A supp
                                                     initial disco  very materials if the material falls
           A party may object to disclosure of these
                                              enumerated in the Disa      ster Protocols       including, but not
    within one of the categories specifically
                                                                                           —




                                                rial, or work-product   protection, including any joint defense
    limited to. attorne -client privileged mate
                                               objection, the     non-disclosing partyshall provide a log of
     agreement. Should any party raise such an
                                                                                                               the
                                                e, which shall   include the specific grounds upon which
     all material being withheld from disclosur

     disclosure is being withheld,
                                                                                                   exempted from
                                                         cause why a particular case should be
              If any party believes that there is good
                                                                                    ction with the court prior to
      the Disaster Protocols, in whole or
                                          in part. that party must file theit’ obje
                                    ___                                           ___________________
  Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 24 of 40




the expiration of the 45—day period set forth herein.
                                                        October                     Edgard
       $0 ORDERED on this                  day of                 —J   2021, at

Louisiana.




Hon. VERCELL FIFFE
District Judge, Division A                                                    B




                                                                                     I




                                                          2
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 25 of 40




     1’. An other Event-related lawsuits filed for the Property or the insured.

     .     Identify the adluster(s) who handled the claim.

      h. Identify the individUal(s) who evaluated, recommended, made, approved, or rejected
         the claim decision,


      i. ldenti[’v the field personnel. estimators, inspectors, contractors, engineers, or other
         pe tson s who participated in any investigation ofth claims or the claims process, had any
         part relating to Insurer’s evaluation process for the claims, Of UOfl who the Insurer relied
         upon or received information from concerning Insurer’s evaluation process or claim
         decision: and identify anyone who had any role in drafting, editing, reviewing, or
          approving any report(s). evaluation(s), or inspection(s) on behalf of Insurer
          involvinu the Insured’s claim.

       .    If eexisting damage is at issue in the litigation, a general description of anyprior
            claims in the past ten years for the Property.

(4) Complete and unaltered copies of the following documents to be produced by the Insurer:

         a. The entire claim file maintained by the Insurer.

         h. The complete Policy in effect at the time of the Event.

         c. Assessments of the Claimed Loss, including: loss reports, expert reports that
            contain any description or analysis of the scope of loss or any defenses under the
            Policy, damage assessments. adjuster’s reports, engineering reports, contractors
            reports. and estimates of repair or replacement. This shall include all reports or
            analyses, including all drafts, prepared as part of the evaluation or claims
                                                                                         process
             involving Insured’s claim by Insurer, or documents or records reviewed in any way
             in connection with Insurer’s handling of the claim.

                                                                               documenting the
           U. Photographs and videos of the Property taken for the purpose of
                                                                                         Loss.
              condition of the Property, including photographs and videos of the Claimed

           e. Any other evaluations of the Claimed Loss.

                                                                              statements,
           f. Documents containing recordings, transcripts, or notes of
                                                                         and the Insured
              conversations, or communications by or between the Insurer
              relating to the Event.

                                                                         by the insurer relating to the
            g. Any claim log. lournal, diary. or record maintained
                                                                                            ons, records
               Claimed Loss. This includes all written records, written communicati
                                                                                         any documents,
               o (‘oral corn man ications, reports, audits, or other records, including
                                                                                      Insurer came into
               envelopes, logs, notes. or other documents evidencing when
                                                    9
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 26 of 40




       poSsession at’ any such records, regarding any aspect of the Insu
                                                                         red’s claim or that
                                                                             Claimed Loss,
       we in any way relating to the Insurer’s investigation into the
                                                                            evaluation, and
       Insurers processmg ot insured’s claim (including adjustment,
       handlin). or Insurer’s claim decision.

                                                                         ing to the Property,
    h. The complete underwriting file maintained by the insurer relat
       its condition, at, coverage.


        Proof of loss for the Claimed Loss.
                                                                            ts relating to the
        II’ there has been an appraisal under the Policy, all documen
        a pra isa I pt’ocess
                                                                        ns (whether written,
     k. Any manuals, policies, directives, guidelines, instructio
                                                                             that would pertain
        electronic. or otherwise), literature, or similar written materials
                                                                    to Similar types of claims
        to the Claimed Loss, Hurricane Ida claims generally, or
                                                                          the Hurricane Cases
        generally such that they would therefore be applicable to
         including the Insured’s claim. This includes any documen
                                                                     t that Insurer relied upon,
         at’ intends to rely upon, pertaining
                                                to industry guidelines, standard practices, or
         recommended practices for adjusting first party claims.

                                                                   anged between the Insured
          For non-NFl? Claims, written communications exch
                                                                      , Property, or damages,or
          and lnsuret’ that refer or relate to insured’s Claimed Loss
          aherwise relating to the insured’s claim,

                                                                to support its defenses.
      m. Any other document(s) on which the [nsuter relies




                                                10
     Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 27 of 40




IN RE: HURRICANE IDA CLAIMS                              STATE OF LOUISIANA

                                                         PARISH OF ST. JOHN

                                                         40T11
                                                                 JUDICIAL DISTRICT COURT


                                                     DEPUTY CLERK


                               INTERIM PROTECTIVE ORDER

       The Initial Discovery Protocols ale designed to achieve more efficient and targeted discovery.

Prompt entry of a protective order will allow the parties to begin exchanging documents and

information without delay, The Interim Ptotective Order will remain in place until the parties agree

to, or the court orders, a dilterent protective order, but absent agreement or court order, the Interim

 Protective Order will not apply to subsequent discovery. The parties may agree to use the Interim

 Protective Order throughout litigation.

          IT IS HEREBY ORDERED that the following restrictions and procedures apply to certain

   information, documents. and excerpts from documents and information the parties exchange in

   response to the Disaster Protocols:

           1. Any party may designate as “Confidential” any document, or information contained
              in or tevenled in a document. provided in response to these Protocols or, if applicable,
              in subsequent discovery, if the party determines, in good faith, that the designation is
              necessary to protect the party lnformation and documents a party designates as
              confidential will be stamped ‘CONFIDENTIAL.” Confidential information or
               documents iire referred to collectively as “Confidential Information.”
                                                                                        will be held
           2. Unless the court orders otherwise, the Confidential Information disclosed
              and ma’ he used h any person receiving the information solely in this litigatIon.
                                                                                                  counsel
            3. If a party challenges another party’s Confidential Information designation,
                                                                                                     , the
               must make a good-faith effort to resolve the dispute. if that is unsuccessful
                                                                                               Protective
               challenging party may seek resolution by the court. NothIng in this Interim
                                                                                              in this case
               Order is an admission by any pa1y that Confidential information disclosed
                                                                                         object to the use
                is relevant or admissible. Each party specifically reserves the right to
                or admissibility of all Confidential Information disclosed,
                                                                                    in accordance with
                applicable law and court rules.
                                                                                         disclosed to any
            4. Information or documents designated as “Confidential” must not be
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 28 of 40




        person. except:

            a.     the requesting party and counsel, including in-house or agency counsel;

            b. empkvees of counsel assigned to and necessary to assist in the litigation;

            c. consultants or experts assisting in the prosecution or defense of the litigation,
               to the extent deemed necessary by counsel;

             cI, any person from whom testimony is taken or is to be taken in this litigation, but
                 that person may he shown the Confidential Information only in preparation for,
                 and during, the testimony and may not retain the Confidential Information; and

             e. The judge. the co]rt staff, including the clerk, case manager, courtreporter, or
                other person with access to Confidential Information by virtue of his or her
                position with the court, or the jury.

             f. The Special Master, his designated deputy, and any mediator involved in
                resolving the case. who shall all be subject to these confidentiality provisions.

   5.     Before    (lisetosina or displaying Confidential Information to any person, a party must:

              a. inform the person of the confidential nature of the information and documents;
                 and

                 b. inform the person that the court has enjoined the use of the information or
                    documents for any purpose other than this litIgation and has enjoined the
                    disclosure of that information or documents to any other person.

   6. The Confidential Information may be displayed to and discussed with the persons
      identified in Paragraphs 4(c) and (d) only on the condition that before any such display
      or discussion, each person must be asked to sign an agreement to be bound by this
      Order in the form attached as Exhibit I. If the person refuses to sign an agreement in
      the ñrm attached. the party seeking to disclose the Confidential Information may seek
      relief from the court.

    7. The disclosure of a document or information without designating it as “Confidential
       lnft)I’mntiun” does not waive the right to designate the document or information as
       Confidential information if the document or information is designated under this Order.

        8. Documents or information filed with the court that is subject to confidential treatment
           under this Order. and any pleadings. motions, or other papers filed with the court
           disclosing any Contidential Information, must be filed under seal to the extent
           permitted by the law, rules. or court orders, and must be kept under seal until thecourt
                                                                                                 as a
           orders otherwise. To the extent the court requires any further act by the parties
                                                                                                  the
           precondition to filing the documents or information under seal, the party filing
           document or intormation is t’esponsihle for satisfying the requirements. If possible, only
                                                                                                under
           the confidential larts ot’documents of information filed with the courtwill be filed
            seal.

                                                    12
                                _______




     Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 29 of 40




        9. At the conclusion of this litigation, the Confidential Information and any copies must
           be promptly (and in no event later than 60 days after entry of final judgment no longer
           subject to appeal) returned to the producing party or certified as destroyed, except that
           the parties’ counsel may retain their working files on the condition that those files will
           remain confidential, Materials filed in the court will remain in the file unless the court
           orders their return.

         10. Producing documents or information, including Confidential Information, in this
             litigation does not Waive attorney-client privilege or work-product protection for the
             documents oi i nforni ation. tinder Louisiana Code of Evidence Article 502.

This Order shall not diminish the right of any paily to apply to the court for a different or additional

Protective Order relating to Confidential Information, to object to the production of documents or

information, to apply to the court for an order compelling production of documents or information, or

to modify this Order. Any party may seek enforcement of this Order, and any violation of this Order

may be sanctioned by the Court.


        SO ORDIRD on this                  day of                       ,2021, at

 Louisiana.




 Hon. VERCELL FIFFIE                                   Hon. NGHANA LEWIS
 District Judge. Division A                            District Judge, Division B




  Hon. J. STERLING SNOWDY
  Distriët Judge, Division C




                                                      I.,
                                                      I]
     ________
                                   ___________
                                                    ______
                                                      __




        Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 30 of 40




                                               EXHIBIT 1



             I have been informed by counsel that certain documents or information to be disclosed

     to me in connection with the matter entitled                                 have been

     designated as cont’dentinL I have been informed that any of the documents or information

     labeled “CONFIDENTIAL” are confidential by Order of the Court.


              I hereby agree that I will not disclose any information contained in the documents to

     any other person. I further agree not to use this information for any purpose other than this

      titigation.




                                                                  DATE:

      Signed in the presence of:




       (Attorney)




£,
C,
C




                                                             14
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 31 of 40




    IN RE: HtRR1(ANE IDA CLAbMS                              STATE OF LOUISIANA

                                                             PARISH Of ST. JOIIN
                                                             40T11
                                                                     ]UD[CIAL DISTRICT COURT


                                               EXHIBIT “B”
                                    STIPULATiON FOR MEDIATION
       IT iS HEREV STIPULATED AND AGREED by and between the undersigned


                  11w p:u’lies wreecl ti submit their dispute to mediation pursuant to the 8$?, as
                 spccillcd in the Case Management Order (and any relevant supplements).

       2.        No prtv shall be bound by anything said or done during the mediation, unless
                 either a written and signed stipulation is entered into or the parties enter into a
                 written and signed agreement The appointed neutral may meet in private
                 conlrcuce with kss than all parties. Information obtained by the neutral, either in
                    ritteim in oral hirni. shall be conhdential and except as provided by Order of the
                           t shall ni be revealed by the neutral unless and until the party who provided
                 tIme inlurmation agrees to its disclosure.

       3.        1 he mediation process. hir the purpose of all federal and state rules protecting
                 disebsures made during such conferences from later diseovety or use in evidence,
                 shall he considered a settlement negotiation. The entire procedure shall be
                 eon fldcntial. and no stenographic or other record shall be made except to
                                 a settlement record. All communications, oral or written, made during
                 the n ediation by any party or a patty’s agent, employee, or attorney are confidential
                 and. where appropriate. are to be considered work product and privileged. Such
                 communications. statements. promises, offers, views and opinions shall not be
                  subject to nov discovery or admissible for any purpose, including impeachment, in
                  :mn litigation or other proceeding involving the parties. However, any evidence
                  which would othcrwie subtect to discovery or admissible shall not be excluded
                   hum diseovei’y or admission in evidence solely becaUse it has been referenced or
                  ii iseussccl during this mediation process.


        4.        1 he appointed neutral and their agents shall enjoy the same immunity as judges and
                  court employees, whether under tderal or state law, for any act or omission in
                  connection with the mediation, and from compulsory process to testis’ or produce
                  documents in connection with the mediation.

            5.     1 he parties shall not:

                   Ii) (all or subpoena the appointed neutral as a witness or expert in any proceeding
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 32 of 40




                    elating In: the mccl iatkin. the sublect matter of the mediation, or any thoughts
                  or impressions which the appototed neutral may have about the parties in the
                  mediat ion
             Cii Sul’ocna an notes. documents or other material prepared bythe appointed
                             in the course nI or in connection with the mediation; and
             (Id) t  )ti’r into evidence any statentents. views or opinions of theappointed neutral.

       6.    •i he appomled eutraVs                have been made available to the parties through
              the dispute resolution procedures sponsored by the Court. In accordance with those
              procedures, the appointed nc’titi’nl represents that he or she has taken requisite oaths.

       7.     Any pu’tv to this Stipulation is required to attend at least one session and as may be
              dinuted by the Special Master as many other sessions thereafter as may be helpful in
              tcsolviiw. this dispute.

       8.     An Individual with final authority to settle the matter and to bind the party shall
              attend the nediation on behal I of each party.




     P LA INTl FF                                          COUNSEL FOR PLAINTIFF

                                                           Date:




     DEFENI)AN’l’                                          COUNSEL FOR DEFENDANT

                                                           Date:


      CNSIIN1’El) TO B’:




      NEtITRAL A[’POINTED BY THE COURT

      flaw




                                                       I
   ______




Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 33 of 40




    IN R; IilRRl(E IDA CLAIMS                                    STATEOF LOUISIANA

                                                                 PARISH OF ST. JOHN

                                                                 4OT JUDICIAL DISTRICT COURT


                                                    EXHIBIT “C”

                                 FoRM FOR ISC DEMAND BY INSURED

    Category                  Pokey Limits         Damage         Prior Payments         ISC DEMAND
    A. I’ll ptt\
    B. flihcr S tOLIULLS
    t.. Person:il l’rcleIt\
     B

    Claini Iir lIUiltILS on I ute Prior P\tuent5
    CIain kit Ic ialuc on 1St )emaitd
           ku :\Ltuu[ile las

    (‘mini kr I lUicu I )uutuias tdasiib belmi


     it )lAl


     Ibis clamiud lit tiw uiuses of mediation onl end is covered by mediation confidentiality, It may not
     ha ased lit am utiwi pwpnse It is rescinded [the case does not settle as part of the S$P. The plaintiff
     raseres lie lit tuu uuuudiR the demand based cm additional information. The plaintiff reserves the right
     to claim expert costs. udicial acres, and mental anguish / economic damages and related penalties
     pursuant to k S. 22 1)73 II un trial of this matter even if they are not listed above.




                                                            .3
    ______                                    _________________________
                                               ______________________
                                               _________________________
                                                _____________




Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 34 of 40




    IN RE: Hk:RR VANE IDA CLAIMS                               STATE OF LOUISIANA

                                                               PARISH OF ST. JOHN
                                                               4o JUDICIAL DISTRICT COURT
                                            EXHIBIT “D”

                       FORM FoR ISC DETAIL OF PAYMENTS BY INSURER

    Cacgor                  Policy Limits     Prior Payments
    A. Pitpi’r(
    B. )lhci SBculc
    C,  PrniiuI IrIpLI,(\
    (). Alt:

    ()Il—l hR

    It Yl Al.




                                                     4
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 35 of 40




   Cowl intl Lhat exceptional ccurnstances exist wIieh u nt the appointment of a Special

   aslci’ to assist ith the elUcient and tir administration of all Hurricane Cases. Pursuant to

   the f:ourt ‘5 whereat uduial power and its authority under La. R.S. 13:4165, et seq, it i

   oidered that [HE COURT HEREBY APPOINTS CADE R. COLE? ESQ. as the Special

   Master kir II urticanc Cases in tlw 40h ludicial District Court

           lhe      :oliit    taLes specific notice of his role as Special Master underthe CMO for

    l-kineane eases in other district courts. The Court anticipates that this appointment and

    continued cuordinatiun with utw lderal Special Master will encourage consistent resolutions

    ol llurri,anc f ass. As pait of their appointment, the Court mandates that the Special Master

    shall piriicd with all reasonable diligence and shall exercise their respective rights and

    responsihililies to direct the Streamlined Settlement Process as provided in this Order.

            ii’ IX 1 ‘RTI IER ORDERED that the Neutrals, referenced in Section 4(I1)(B), supra,

    are hereh appointed and shall proceed with all reasonable diligence and shall exercise their

     riuhis and responsihilitics tinder the Streamlined Settlement Process (“SSP”) as the Special

     Master ii ny direct

            1.          Thc’ Specitti Muster

                     [he Special Master shall administer, coordinate, an preside over the SSP. This
             authority includes the power to order parties and/or party representatives with
                                                                                                full
             pover ol settlement to submit briefing, engage in discovety, and     attend settlement
             conferences. Ihe Special Master may enter any other order to effectuate the provisions
             ui the S P. subject to the review and control of the Court.

             II.         Compc’nsutiun of Appointed Neutrals

                       lhe Scciai Mutcr. his designated deputies, and all other appointed
                                                                                          neutrals
                                                         shall he compensated in the amount of:
             tattler the XXI’ (the “Appointed Neutrals”)

                         A. .ittt) icr Iniur Iir the Special Master or Appointed Neutrals;
                                                                                          e expenses in
                             B. 2Xft pci. case (w the Special Master for administrativ
                                                                      and coordinating  the  Streamlined
                                administering, scheduling. omganizmg,
                                                                          the parties as weB  as with the
                                Settlement Process for each case amongst
                                Appointed Neutrals: and
                                                                                         but not limited to
                             C. all actual expenses 0f the Appointed Neutrals, including
                                                                                       or video conference
                                travel, meeting rooms. telephone, and electronic audio
                                means.
                                                                                parties or as otherwise
                        I niess otherwise directed by mutual agreement of the
                                                                      and expenses shall be paid twenty
                 directed h the Special Master. all of the above fees
                                                                         (75%) by the defense(s).°
                 kve percent (25%l by the plaintiff(s) and seventy-five
                                                                                           e fee provided for
                           IllS FURTHER ORDERED thai $70 of the administrativ
                                                                         the petition, collected by the clerk
                   in Section Ui B) shall be added to the cost of filing
                                                                     against the insured concerning a Hurricane case
         ‘In mnstance ihere itt insurer alan insured luis tiled suit
                                                                      ofthe cost split under this order and the insurer
        the insured shall be cunsidmd the plaintiti 1mw the purposes
                                                                        in the event of settlement that a condition of
        shall he comisidemed tIme detodant It is generally custamary SSP/mediatioti
        setttnieni be that he insurer pas commit costs and costs
                                                                  otthe


                                                               4
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 36 of 40




         ol     court. cuki remitk’d monthly to the Special Master; and that $210 of the
         udnwiisti’atjve li.c provided for in Section 1 [(B) shall he added. to the cost of the first
          1(11cc (It I1lIn 1w the delendant. collected by the clerk of court, and remitted monthly
         to ike Special Muster,

         Iii.            Role ‘if .1pmhi/ed A’euirtds

                A. ‘Ike Special Maxtci and Appointed Neutrals may communicate exparte with
                   the Court when dcc’ined appropriate by the Special Master, at his discretion,
                   without providing notice to the parties, including communication certi’ing that
                   the parties have complied with the requirements of the 5$?.

                 II, ‘the Special Master and Appointed Neutrals may initiate contact and
                                                                                         te
                     cummun,ciic with counsel br any party as he or she deems approptia with
                                                           n
                     respect to the ellicient administratio and man agem ent of the $SP.

                 C’. ‘the Special Master and Appointed Neutrals, the parties, and those assisting the
                     loreoaing shall he hound by the confidentiality of the settlement discussions.

                   I). ‘Ike Special Master may designate any of the Appointed Neutrals to act as his
                       deputy horn time to time and to perform any duties of the Special Master.

                          II m Appoind Neutral reports that a case did not settle due to a party’s failure
                          to compl with its ubligotams under the Disaster Protocols, including the
                          obligation to supplement the Disasiet’ Disclosures at least twenty—one (21) days
                          piorto the mediation, the Special Master may order another mediation and may
                                 the ‘nIl cost al the first mediation against the party in violation,

              Ii          .Votic’e it) the Spec’itil i1astei


                       \ny party to it I lurricane Case may file a motion with the assigned District
              .1 udgc ‘equesting      Pt out horn the SSP only for good cause shown within the
                                                                                          D that any
               applicable deadline (see Section 4 below). IT IS FURTHER ORDERE
               p’ty tiling on opt out motion shall copy the Special Master, and that the parti es shall
                                                                                          ial   Master
                provide notice ut the C’owi’s Ordei’ on the motion to opt out to the Spec
                whether the mat ion 0) opt Out 5 granted or denied.

                        IT 15 FURTHER ORDERED that counsel for any party to a Hurr
                                                                                                icane Case
                                                                                          ide emai l notice
                that has bc’n provided a copy of this Order shall be required to prov
                                                                               nt filings in any Hurr icane
                to the Special Master ofthe initial pleadings and all subseque
                                                                                sel for the party has been
                 Case (knowledge ol’ this provision is presumed where a coun
                 provided a copy ol’this Order br a case for that party or any
                                                                               other party). The Special
                 Master shall send an Initial lnfto’mational Package on the
                                                                                55? to all patties and/or
                 counsel at’ record br Htn’rieanc Cases subj ect to the SSP .

                                                                       CESS (“5$?”)
      SECT1f) 4. STREAMLINED SETTLEMENT PRO
                                                                      nsive plead      ing (orwithin 15 days
                 Within 5 days ol’the tiling ol’the defendant’s respo
                                                                ndant or its counsel, including by electronic
       uI the receipt afa copy of this Order by the defe
                                                                                        on to opt out f this
       ui other means           ‘   whichever is later), either party may file a moti                               I
                                                                                        be decided on the
       Streamlined Sctttc’me          ill Process for good cause shown. This motion may
                                                                 s an opt out, then the parties shall participate
       briels without hearing. I niess the Cmiii authorize
                                                               ess, which is described as follows:
        in the twostaged Streamlined Settlement Proc

                    1.         l’7rst Stage: Seulenwiit Coi/reiice
                                                                         in all Hurricane Cases, all parties
                           \\‘ithin 45 days of the Disclosure Deadline
                                                                    ce (ISC’’) among alt parties and their
                    shall conduct an in lbt’mal settlement conferen
                                                                      line counsel shall meet to confer and
                    counsel Within I 5 days of the Disclosure Dead
                    discuss a mutualR convenient time. date,
                                                                and manner for the conference. In light of
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 37 of 40




        the t ‘( )Vll)— () pandemic as well as the desire to resolve the Hurricane Cases as
        expedcuccusk as possible. seulement conferences should be conducted, where possible,
        hv plucoc cu audiovisual comntunbtiiun, inclttding but not limited to Zoom, Skype, or
          m at’ Iat hc’ts

                  ‘ccutisel ho each plainti fl and lht’ each defendant must have full authority to
        rcolve the ease li’ccm their clients, who shall be readily available by telephone if
        ccn.itInstcmees 11cr the ISC require assistance.

                 ‘the 1St’ shall include a particularized demand from the plaintiffthat is itemized
        by each claimed policy coverage category then known to be remaining in dispute
        and ccc’ any existing demaccd for extra—contractual damages that are then claimed to be
        incurred. l’he demand shall he stcbinitted by email to the opposing counsel on the form
        attached as hxhibit “C” at least 72 hours prior to the scheduled ISC.

                  ‘the attoriley for the insurer will conduct a call prior to the 1$C with the relevant
         client repc’csecctative icc enstire the client representative has reviewed the I$C demand.
         ‘I he cliecct ‘cpc’csentative will inform their counsel concerning additional information
         requested Itc evaluate the claim, and their counsel shall convey that to opposing counsel
         at the lX( ccc’ in \Vritifl The insurer shall submit by email to the opposing counsel an
           1etuiitIicm ccl’ihe prim’ payments awarded by coverage category on the form attached
             l’xhihit “I)’’ at least 72 hotcc’s prior 10 the scheduled ISC.

                   ‘I he defendant shall respond at the ISC to briefly detail why it does not agree
         with the demand by category. The plaintiff may request that this response be reduced
         ci \c’iticcg. and ii’ cequested it shtthl be answered within 15 days of the l$C.

                ,\ll IXC’ eccnmlunieations shall be coveted by mediation confidentiality, The
         Special \ laster nay coder any particular modifications in this protocol for specific
         cases, pat es. or attorneys.

         II,     Seemul Sttci,e: iWeditrlion

                   Cases that dcc not resolve during the initial settlement conference shall be set
          I’m’ a hcc’mal mcclitction. The patties shall provide the Special Master written notice
          ticcludhm hy email and pc’eli’ably jointly) of completion of the first Stage along with
          a c’eqtcest hit’ nwdiutinic, ‘l’he Special Master may assign a neuti’al within 60 days of the
          l)isclccsuc’e Deadline even ii neither patty submits the written notice. The Special
          Mastcc’ shall then assign each -lurricane Case to an Assigned Neutral, and it is the goal
           dint Assigned Neutrals complete mediation within 90 days of appointment. The
           Special Master (01’ Appointed Neutral for the case) may set a scheduling conference,
           icr eociccnlinieaie with eccunsel about availability through other means, but shall seek to
           SL’hedccle the mediations in an expeditious manner at mutually convenient times and
           dates hcr all patties. In the event a counsel pt’ovides an inufficient number of available
            dates the Special Master may au[hccc’ize an extension of the SSP period for that case or
            flOR requite meditcticcn ccci a dote selected by the Special Master, including on a
            weekend day.

                   A.      Conduct of Mediation

                            After scheduling of an agreed mediation, cotinsel for each party shall
                   submit cunlidential statements solely to the appointed neutral, The appointed
                   tceutc’al shall detercuicte, aftec’ conferring with the parties, on the length of the
                   cccnttdential mediation statuments and the permissible number of exhibits
                   attached thereto,

                               Plnititiil’(s) shall he present in-person along with counsel (subject to
                    aeeocumccdntions appc’uved by the case’s Appointed Neutral), Defense counsel
                    shall clscc attend in-pet’sun. A c’epc’esentative from defendant(s) is encouraged to
                    attend. but tcnless otherwise directed by the Special Master the defendant(s)
                    rt’pc’csecctative shall not be required to attend if counsel fot’ the defendant has
                    I’cclI aucihccc’ity to t’escclve the case, to addition, a representative of the defendant
                    shall be c’eadilv available by telephone, if circumstances for that particular
                     cited i atom reqtt ire assi stance.



                                                        t
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 38 of 40




                           In he extent agreed by the parties and the case’s Appointed Neutral,
                   this mediation cunk’rence may be conducted by phone or other means of
                   electronic audio or video communication, including but not limited to Zoom,
                   Skype. or sim hit pint [onus,

                   As part nI this Streamlined Settlement Process, the attendees may be invited
               to each make opemnn statements but there shall be no live witnesstestimony.

                   B. List ot etLtraIs

                           I he t. ourt hereby initially designates and appoints the following
                   individuals as neutials” (mediators) for the 5$?:

                            Any person designated by the Special Master after consultation with the
                            C’nun who is qmilihed pursuant to R,S. 13:41 65(f)(5).

                   t. Neutral Training

                            lhc Special Master may undertake to provide special training to the
                   neutrals, including coordinating participation in training prepared for the
                   Streamlined Settlement Process. The Special Master may form a plaintiffs’
                   liaison committee and a det’ense liaison committee or may coordinate with any
                   rchited Fetleral Court liaison committees for Hurricane Cases. If formed, the
                   Special Master’ may solicit input and responses concerning commonly
                     ccwrint legal issues that the liaison committees, from experience, believe may
                   arise in a large number ut these cases. along with relevant case law or other
                   authority addressing these issues. While the ultimate determination of any such
                   common issue may well he [bet driven, and the outcome of any legal issue will
                    be determined by the Court. the Special Master may seek this information in
                    oi:der to educate and fully prepare the appointed neutrals with the hope of
                    expeditine the settlement process. The Special Master may facilitate
                    discussions by and among the appointed neutrals to promote, to the extent
                    possible. consistency in the resolution of cases.

            It!,    lvIt’ncioov 0/ Time


                        a loint request by the parties, or for other good cause shown, the Special
                      pun

            Master may extend any deadline speci tied in this Order.

            SEQTlOr 5. COURT APPOINTED UMP[RES REQUIRED UNDER

     POLICIES

             II’ an insurance policy implicated in a Hurricane Case pt’ovides for court appointment

     of’ a neutral ut third appraiser for valuation disputes (hereinafter referred to as an “Umpire”),
                                                                                                     have
      any request fur the appointment by this C’otirt ofan timpire shall only occur if the parties

      been tu nib Ic t aerec tin their wn
                                                                                          writing
              A a request fur the appointment by the Court ot’ an Umpire shall be made in
                                                                                        Any motion or
      no later than the deadline for llling ol’ the defendant’s responsive pleading.
                                                                                        Special Master
      request itt this Court’s appointment of an Umpire shall be submitted to the

      via email at linctim        mijggs• This deadline may be extended by the Special Master
                                               .




       in exceptional circumstances for good cause.
                                                                                        and no case is
               It’ a requesting patty is seeking court appointment of an Umpire
                                                                                         the parties shall
       otheiise tiled Lit pendi ig before this Court (an “Umpire Only filing”), then


                                                        7
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 39 of 40




     [a low the same p ruLed ures,

            An Insurer is reqtu rd to provide written notice of’ the request to any known counsel

     (or the Insured to” directly to an unrepresented Insured). An Insured is required to provide

     written notiCe of the request to any known counsel of tnsurer (if any) or alternatively to the

     I nsui’c’r’s primary   dnt of contact on the claim with Insured. The appraisers previously

     selected h each party shall also he provided notice, and their contact information (phone and

     email address) shall he provided in ihe request for appointment ofan Umpire.

             A wrilten t’t’pL’rt and recommendation concerning the Umpire’s appointment shall be

     issued to the pirnes and shall he deemed applicable to the parties in the same manner as if

     made liv an order of the Court unless the report and recommendation is overturned by the

     assic,necl l)strict .tudue ‘For good cause Following a motion opposing the report and

     t’eecnunendation tiled within seven days of transmittal of the written report and

     rccommentlati’n. Alternatively, the Special Master my issue the report and recommendation

      to the Court. and the (‘ourt nay directly issue an Order concerning the appointment.

              In an I ‘mpirc Only Piling, the Special Master may provide the report and

      recoinincndntion to the civil Duty .ludge as of’ the time of the issuance of the report and

      reLomttictulatiotts, Alternatively, the Special Master• may issue the report and

      recommendation to the parties in the same manner described in the paragraph above. If any

      party nh,’ets to the report and recommendation in an Umpire Only Filing then it shall file a


       lortnal petition cc’nccminu the underlying dispute within seven days and the case shalt be

       assiuned to a judee in the usual manner ko’ a decision concerning the report.

               IT IS ORDERED that the appraisers appointed by the parties are required to.complete

       their tvurk and sithinit any disputes to the Umpire no later than 60 days following the first

       Initial Disclosure I )cadlinc under this Order (105 days following the filing of the defendant’s

       responsive pleadings). The appointed I. linpire shall issue his report no later than 21 days from

        the sttbmissiou of the dispute to the I.tmpire. This penod may be extended by the Spectal

        Master upon a showina of’ good cause,

        SECT!t)\ 7.            CLERN OF COURT AND NOTICE
                                                                                                         and
                 A l’lninti II’ tilinu a I luu’ieane Case should note on its cover letter, in ALL CAPS
                                                                                                  pleading,
         RED FO.VT. that the flatter isa” Ill RRLCANE CASE”. Each caption and on each
                                                                                        Master
         “HURRICANE (‘ASE” in bok! print shall follow the docket number. If the Special
                                                                                               the parties by
         learns the C )rdcr has nut been entered by the Clerk of Court. he shalt serve it on



                                                          S
Case 2:23-cv-05627-EEF-MBN Document 1-2 Filed 09/29/23 Page 40 of 40




     entail and na’s    uk piouluOhe same into the record a! no cost,
               tñ all subset1uentlv flied Hmricaiw Cases, a copy of this order shall be served on the

     dclciidmll(s) aILnt. with he Petiflon and Citation. The Clerk of Court shall include a reference

     that the ( use lunauement Order is served with the Petition in the Citation issued. The Clerk

     ii’ Court shall also powide a copy to the plaintiff by any authorized means.

               11w Clerk ol’ Cmirt shall transmit via email, at least weekly, to the Special Master the

     docket numbers. case caption. and attorney contact information for any Hurricane Cases filed.

               An pmK making am           lilin or stibmaung any memoranda in a Hurricane Case subject

     to this t )rder shall serve a courtes copy on the Special Master in the same manner as enrolled

     counsel via email at 1 unieanc tin u eoielaw.us

     SECTION 7.                  COURT SUPERVISION

                he I )istster Ptmiol and Streamlined Settlement Process shall, at all times, be

     subcl to the ultimate control and supervision of the Court. This Case ManagementOrder for

     Hwdcnnc (uses is subleci to modification pursuant to further orders of this Court. All

     provisions of this t )rcler shall he applicable to all cases whether then pending or thereafter

      liled.

               So ORDERED on this day ol’                       tob&         ,202l, at

          Edgard




      Hon. VERCELL FIFFIE
      l)istriei immUne. I )i’ isitmn :\




                                     C.




                                                           t)
